          Case: 5:22-cv-00231-DCR-MAS Doc #: 144-13 Filed: 03/12/24 Page: 1 of 2 - Page ID#:
                                              EXHIBIT 13
                                              1680




From: Johnson, Kristeena
Sent: Friday, December 29, 2023 9:17 AM
To: 'Ned Pillersdorf' <pillersn@gmail.com>; Darrell Herald <dah41339@yahoo.com>
Cc: Morgan, Grahmn <grahmn.morgan@dinsmore.com>; Pack, Ashley <ashley.pack@dinsmore.com>; Larkin, R. Clay
<clay.larkin@dentons.com>
Subject: Yesterday's Site Visit


Ned,

I wanted to follow up with you on the inspection yesterday. When our group of vehicles moved from Lower
River Caney to Upper River Caney, you and Darrell appear to have turned off and did not follow us for the
duration of the inspection. As a result, we had to conduct the remainder of the inspections from the public
roadways.

However, an incident did occur when we attempted to view Amy and Bruce Dryden’s residence from the public
road way. Mr. and Mrs. Dryden came out of their home, although we were not on their property but instead
standing on the public roadway, yelled at us, told us that they were never given notice that an inspection would
be occurring, called us morons, and demanded that we delete any photos that we took from the public roadway
of their home. We attempted to explain who we were, why we were there, and that the inspection had been
agreed to with counsel, but Mr. Dryden grew more agitated and again demanded that the photos be deleted and
that we leave the area. We complied with his request that we leave.

Kristeena




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                                                       1
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-13 Filed: 03/12/24 Page: 2 of 2 - Page ID#:
                                    1681




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